Case 2:05-cr-20177-SH|\/| Document 107 Filed 07/14/05 PagelofS Page|D 1

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FoR THE wEsTERN DISTRICT oF TENNESSEE 95 JUL |l¢ AH||: 05
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UNITED STATES OF AMERICA,
Plaintiff,

Vs. CR. NO. 05-20177-Ma
CHARLES L. PRICE,
TYREE TILLMAN,
TAVARIS BOOTHE,
COREY WILLIAMS,

~._r~_/~_._/\.._/v\_._,~.¢~.._¢-._/-._/v`._,¢

Defendants.

 

ORDER ON CONTINUDNCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on forl a report date on June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning October 3, 2005 at 9:30 a.m., with a
report date of Friday, September 23, 2005 at 2:00 p.m.

The period from June 24, 2005 through October 14, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of July, 2005.

J¢/U

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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Case 2:05-cr-20177-SH|\/| Document 107 Filed 07/14/05 Page 3 of 3 Page|D 113

Honorable Samuel Mays
US DISTRICT COURT

